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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                   )
 Conservation Law Foundation, Inc.,                )
                                                   )
         Plaintiff,                                )
                                                   )
                 V.                                )
                                                   ) Case No. l:16-cv-11950-MLW
 ExxonMobil Corporation,                           )
 ExxonMobil Oil Corporation, and                   )
 ExxonMobil Pipeline Company,                      )
                                                   )
   Defendants.  )
--------------- )
                                     JOINT STATUS REPORT

        Pursuant to the Court's October 26, 2022 and November 22, 2023 Orders, ECF Nos. 149

& 176, Plaintiff Conservation Law Foundation and Defendants Exxon Mobil Corporation,

ExxonMobil Oil Corporation, and ExxonMobil Pipeline Company respectfully submit the

following Joint Status Report.

        Since their November 16, 2023 status report, ECF No. 175, the parties have continued

their efforts to finalize a settlement agreement. The parties aim to have the agreement finalized

and signed on or before November 30, 2023.

       The parties request that they be allowed additional time to finalize their agreement.

Provided the Court agrees, the parties propose that they report again on November 30, 2023 to

notify the Court whether they have successfully settled the suit. If the parties have successfully

settled, they will notify the Court of their expected timeline for a joint dismissal. If the parties

fail to settle, they will report their positions on continued litigation.


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